Case 2:21-cv-01051-WSS Document 48 Filed 03/22/22 Page 1of1

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

A.F., a minor, by and through his father.

ANTONIO FULTZ, Civ. No. 2:21-CV-1051

Plaintiff, Judge William Stickman, IV
VS.

AMBRIDGE AREA SCHOOL DISTRICT,

Defendant.

And now this 22 day of Me-el, 2022
after consideration of Plaintiffs Unopposed Petition For Settlement Approval Pursuant to

LCvR17.1, it is hereby ORDERED, ADJUDJED and DECREED that the settlement is

approved. Yhe Cle-k shall mrork this case az CLOSE,

So Ordered by the Court

DIA. © AACE

 
